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                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,          )
                                   )          1:04-cr-5364 OWW
                    Plaintiff,     )
     vs.                           )
                                   )          ORDER FOR RETURN OF
PARMINDER SINGH BRAR,              )          PASSPORT
                                   )
                    Defendants.    )
___________________________________)


     The above-named defendant having been remanded to the

custody of the U. S. Marshal,

     IT IS HEREBY ORDERED that the Passport posted in this matter

be returned to the defendant or their representative.


IT IS SO ORDERED.

Dated: March 9, 2006                  /s/ Oliver W. Wanger
emm0d6                           UNITED STATES DISTRICT JUDGE
